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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

UNITED STATES OF AMERICA

v.                                                                No. 3:19-CR-083-M

RUEL M. HAMILTON

           MOTION TO STRIKE HAMILTON’S POST-TRIAL MOTIONS

        Under the Court’s post-trial briefing schedule, Hamilton’s “post-trial motions

under Rules 29 and 33” were due on August 16, 2021. (Dkt. No. 344.) Under this

Court’s Local Rules, Hamilton’s Rule 29 motion and his Rule 33 motion each could

include briefs in support no longer than 25 pages.          While the Rules envision that

“extraordinary and compelling reasons” may require briefs in support of motions to

exceed those page limitations, parties must obtain permission to file over-length briefs.

See N.D. Tex. Crim. L.R. 47.2(d).

        Here, instead of filing two 25-page briefs in support of his Rule 29 and Rule 33

motions, Hamilton filed seven separate briefs—totaling roughly 160 pages. (Dkt. Nos.

355-361.) The Rules, however, do not permit defendants to file separate briefs of no

more than 25 pages on each basis for acquittal or for a new trial; rather, defendants get

one Rule 29 motion and one Rule 33 motion 1—each of which may be supported by a

brief of no more than 25 pages under the Local Rules. See N.D. Tex. Crim. L.R. 47.2(c).




1
  Both Rules speak in terms of a single motion—each of which should be subject to the 25-page brief
limitation in Local Rule 47.2. See Fed. R. Crim. P. 29(c) (discussing “Time for a Motion” and “Ruling on
the Motion”); Fed. R. Crim. P. 33(a) (“Upon the defendant’s motion . . . .”).


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        Hamilton filed this voluminous briefing without providing notice to the

government or obtaining leave from this Court. Because Hamilton’s post-trial briefing

violates the express limitations in Local Rule 47.2, this Court should strike the briefs and

order Hamilton to re-file his post-trial briefing in accordance with that Local Rule.

Should the Court order such relief, the government expects that Hamilton may seek leave

to file briefs in excess of the 25-page limit. The government is not opposed to reasonable

requests for additional pages (e.g., 35 pages per brief), but there is no justification for

briefing that is more than triple the express limitation in the Local Rules.

                                           CONCLUSION

        For all these reasons, the government respectfully requests that the Court strike

Hamilton’s post-trial briefing, (see Dkt. Nos. 355-361), and order him to re-file his post-

trial briefs in accordance with Local Rule 47.2.

                                                        Respectfully submitted,

                                                        PRERAK SHAH
                                                        Acting United States Attorney


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                              CERTIFICATE OF CONFERENCE

        On August 19, 2021, I conferred with Abbe Lowell, counsel for Hamilton, and he

is opposed to this motion.


                                                      Chad E. Meacham
                                                      Assistant United States Attorney


                                 CERTIFICATE OF SERVICE

        On August 19, 2021, I electronically submitted this document to the Clerk of the

Court for the U.S. District Court, Northern District of Texas, using its electronic case

filing system, which will provide a copy of this document to defendant’s counsel.


                                                      Chad E. Meacham
                                                      Assistant United States Attorney




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